Case: 2:12-cv-00648-ALM-TPK Doc #: 19 Filed: 12/17/12 Page: 1 of 3 PAGEID #: 260




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

BERKSHIRE LIFE INSURANCE COMPANY )                          Case No. 2:12-cv-648
OF AMERICA,                      )
                                 )                          Judge Marbley
                Plaintiff,       )
                                 )                          Magistrate Judge Kemp
          v.                     )
                                 )
PAULA A. HABIB, MD,              )                          PLAINTIFF’S UNOPPOSED
                                 )                          MOTION FOR
                                 )                          EXTENSION OF TIME TO
                Defendant.       )                          RESPOND TO DEFENDANT’S
                                 )                          MOTION TO DISMISS


       Plaintiff, BERKSHIRE LIFE INSURANCE COMPANY OF AMERICA, by its

attorneys, Donald A. Murday and Craig M. Bargher of Chittenden, Murday & Novotny LLC,

pursuant to Local Civil Rule 7.3, states as follows for its Motion for Extension of Time to

Respond to Defendant’s Motion to Dismiss:

       1.      Defendant filed a Motion to Dismiss for Lack of Subject Matter Jurisdiction on

November 13, 2012.

       2.      Plaintiff’s response to the Motion to Dismiss is currently due on or before

December 17, 2012.

       3.      The parties have reached a settlement in this matter and are currently finalizing

the necessary settlement documents.

       4.      Plaintiff’s counsel consulted with Cesar Gavidia, Esq., who represents Defendant,

and he confirmed that Defendant does not oppose this motion.

       5.      In order to finalize the necessary settlement documents, Plaintiff respectfully

requests an extension of time to January 31, 2013 to file its response to the Motion to Dismiss, if

necessary. The parties anticipate finalizing the necessary settlement documents and submitting a

                                               -1-
Case: 2:12-cv-00648-ALM-TPK Doc #: 19 Filed: 12/17/12 Page: 2 of 3 PAGEID #: 261




Stipulation and Agreed Order of Dismissal before January 31, 2013.

       WHEREFORE, for the reasons set forth above, Plaintiff, BERKSHIRE LIFE

INSURANCE COMPANY OF AMERICA, respectfully requests that this Court enter an Order,

in the form submitted separately herewith, granting Plaintiff to and including January 31, 2013,

to file its response to Defendant’s Motion to Dismiss.

                                             BERKSHIRE LIFE INSURANCE COMPANY
                                             OF AMERICA

                                             By: /s/ Ryan P. Sherman (with permission)
                                                by /s/ Craig M. Bargher
                                                     One of Its Attorneys

                                                  Ryan P. Sherman (0075081)
                                                  Porter, Wright, Morris & Arthur LLP
                                                  41 South High Street
                                                  Columbus, Ohio 43215
                                                  (614) 227-2184
                                                  (614) 227-2100 (fax)

                                                  Of Counsel:

                                                  Donald A. Murday (admitted pro hac vice)
                                                  Craig M. Bargher (admitted pro hac vice)
                                                  CHITTENDEN, MURDAY &
                                                  NOVOTNY LLC
                                                  303 W. Madison Street, Suite 1400
                                                  Chicago, Illinois 60606
                                                  (312) 281-3600
                                                  (312) 281-3678 (fax)
                                                  dmurday@cmn-law.com
                                                  cbargher@cmn-law.com




                                               -2-
Case: 2:12-cv-00648-ALM-TPK Doc #: 19 Filed: 12/17/12 Page: 3 of 3 PAGEID #: 262




                                CERTIFICATE OF SERVICE

       It is hereby certified that that foregoing has been filed via the electronic filing system on

December 17, 2012. Notice of filing will be performed by the Court’s electronic filing system,

and Parties may access the document through the electronic filing system. The undersigned also

hereby certifies that a true and correct copy of the foregoing was served upon:


    Paula A. Habib, MD
    1365 Boylston Street
    Boston, Massachusetts 02215-3919

by enclosing true and correct copies thereof in a duly addressed, postage prepaid envelope and

depositing same in the U.S. Mail chute at 303 W. Madison Street, Chicago, Illinois, on or before

the hour of 5:00 p.m. this 17th day of December, 2012.


                                             /s/ Ryan P. Sherman (with permission)
                                             by /s/ Craig M. Bargher
                                             Ryan P. Sherman
                                             Craig M. Bargher




                                                -3-
